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                            UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF OREGON


In re:                                           Case No. 18-33183tmb11

COLONIAL OAKS MOBILE                             DEBTOR’S STATEMENT
                                                 DEBTOR'S STATEMENT REGARDING
HOME PARK, LLC,                                  MISSING SMALL BUSINESS
                                                 DOCUMENTS
                       Debtor.


         Pursuant to the Supplemental Order and Notice Regarding Filing of Documents; and

Notice of Proposed Dismissal [Docket No. 9], Debtor Colonial Oaks Mobile Home Park, LLC

hereby states that the Debtor has been unable to locate the following small business documents

described in 11 U.S.C. § 1116(1)(a), and the Debtor believes that the documents do not exist:

         1) Statement of Operations; and
         1)

         2) Balance Sheet

Dated: September 20, 2018                           /s/ Nicholas J. Henderson
                                                    Nicholas J. Henderson, OSB #074027
                                                    Of Proposed Attorneys for Debtor




Page 1 of 2 —  STATEMENTRE:
            – STATEMENT RE:MISSING
                            MISSINGSMALL
                                   SMALL BUSINESS
                                         BUSINESS DOCUMENTS
                                                  DOCUMENTS
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In re: Colonial Oaks Mobile Home Park, LLC
Case No.
      No. 18-33183-tmb11
          18-33183-tmbll


                                 CERTIFICATE OF SERVICE

DATE:              September 20, 2018

DOCUMENT: DEBTOR'S
DOCUMENT:  DEBTOR’S STATEMENTREGARDING
                   STATEMENT  REGARDINGMISSING
                                       MISSINGSMALL
                                               SMALL BUSINESS
                                                     BUSINESS
           DOCUMENTS

       I hereby certify that the foregoing document was served on the following participants
through the Court’s CM/ECF on the date set forth below:
            Court's CM/ECF

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        I hereby certify that the foregoing document was served on the following participants via
First-Class Mail:

         None.



                September 20, 2018
         Dated: September

                                          MOTSCHENBACHER & BLATTNER, LLP



                                          By:/s/Nicholas J. Henderson
                                            Nicholas J. Henderson, OSB #074027
                                            Of Attorneys  for Debtorfor Debtor
                                                Proposed Attorneys




Page 2 of 2 —  STATEMENTRE:
            – STATEMENT RE:MISSING
                            MISSINGSMALL
                                   SMALL BUSINESS
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                                                  DOCUMENTS
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